       Case 1:24-cr-10071-FDS          Document 95        Filed 05/23/25      Page 1 of 16




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
THE UNITED STATES OF AMERICA,              )
                                           )
                          Plaintiff,       )
v.                                         ) Case No. 1:24-cr-10071-FDS
                                           )
ERIC TABARO NSHIMIYE,                      )
                                           )
                          Defendant.       )
__________________________________________)

   ERIC NSHIMIYE’S MOTION FOR REVOCATION OF PRETRIAL DETENTION
  ORDER AND FOR ADMISSION TO BAIL BASED ON DUE-PROCESS CONCERNS

       Defendant Eric Nshimiye respectfully moves this Honorable Court for an order granting

his release on bail. He has now been incarcerated for more than fourteen months, with no definite

trial date set, and the prospect of at least another year in custody—if not longer. This extended

delay arises from the substantial discovery involved, the need to secure exculpatory evidence from

abroad, the subsequent defense investigation required to incorporate any responsive materials, and

the need to secure attendance of foreign witnesses (to the extent they are willing) at trial.

Meanwhile, Mr. Nshimiye’s continued incarceration has imposed severe hardships on his family—

including the loss of his wife’s employment due to her need to care for their ailing son. See Letter

of Chantal Nshimiye, attached hereto as Exhibit 1. Under these circumstances, the defense

respectfully submits that due process requires his release pending trial.

       I.      Background

       Mr. Nishimiye has been in custody since March 21, 2024. No firm trial date has been set.

To prepare for trial, the defense must secure exculpatory evidence abroad. Absent government

assistance, that evidence can be obtained only through letters rogatory – first requested on January

17, 2025 – which are still being litigated before this Honorable Court. Even if those letters issued



                                                 1
       Case 1:24-cr-10071-FDS          Document 95        Filed 05/23/25      Page 2 of 16




today, the delays inherent in international service, foreign responses, translation, and integrating

any new material into the defense would likely add at least another year of pretrial incarceration.

When considered alongside the time already served, such an extension raises grave constitutional

concerns because “in many, perhaps most, cases sixteen months would be found to exceed the due

process limitation on pretrial confinement.” United States v. Zannino, 798 F.2d 544, 548 (1st

Cir.1986).

       Meanwhile, Mr. Nshimiye’s family has been severely strained by his absence. See Exhibit

1. His son, Tresor, experienced a serious mental-health crisis shortly after learning of his father’s

incarceration, ultimately requiring emergency care at Cleveland Clinic and Mercy Hospital.

Exhibit 1. He then spent approximately two months at Heartland Behavioral Health Hospital.

During that time, he required continuous attention and multiple appointments with psychiatric and

counseling clinics. Exhibit 1. Because of Tresor’s condition, Mr. Nshimiye’s wife had to stop

working in December 2024 to care for him and the family has been denied Social Security

disability benefits. Exhibit 1. In short, the family is in deep distress: they have no disability aid

and no other means of financial support. Without Mr. Nshimiye’s presence, his wife cannot fully

return to work or manage her own medical follow-ups resulting from major surgery. Exhibit 1. In

her words, “[i]t has all been overwhelming, to say the least.” Exhibit 1.

                                     Prior Bail Proceedings

       On March 21, 2024, Mr. Nshimiye was arrested in the Northern District of Ohio on the

instant charges. On March 29, 2024, Magistrate Judge Carmen E. Henderson of the Northern

District of Ohio conducted a detention hearing and ordered him held without bail, finding that he

presented a serious risk of flight, and that no combination of release conditions could adequately




                                                 2
       Case 1:24-cr-10071-FDS           Document 95         Filed 05/23/25      Page 3 of 16




mitigate it. Dkt. 31-1; Dkt. 14. Before that hearing, pretrial services in the Northern District of

Ohio had recommended that Mr. Nshimiye be released on a $20,000 unsecured bond.

       On April 25, 2024, Mr. Nshimiye requested Chief Magistrate Judge Cabel to reopen the

detention hearing, offering to post “five properties” owned by “friends and family” as collateral

for his appearance bond. Dkt. 30 at 2-3; Dkt. 18. However, that motion was denied on May 17,

2025, on the grounds that the proposed collateral had been available to Mr. Nshimiye at the time

of his original detention hearing. See Dkt. 30.

       On May 23, 2024, Mr. Nshimiye appealed his detention order to the District Court, see

Dkt. 31. On June 20, 2024, the District Court found that Mr. Nshimiye “poses a serious risk of

flight were he to be release before trial in this matter” and that no “proposed conditions of release,”

including “home detention, electronic monitoring, surrendering his passport, waiving non-

extradition rights, surety provided by himself and several friends and family, and agreeing to

supervision by pretrial services”, are “sufficient to reasonably assure defendant’s appearance.”

Dkt. 43 at 8. That finding was, at least in part, based on the stated concern that the travel required

between Ohio and Massachusetts for court appearances “creates a substantial risk that [Mr.

Nshimiye] might take the opportunity to evade authorities while in transit.” Dkt. 43 at 8. The

District Court did not find that Mr. Nshimiye poses a danger. See Dkt. 43 at 7 (“it is unclear what,

if any, danger defendant would pose to others in the community were he to be released… [t]his

factor therefore supports release”).

                            Discovery and Letters Rogatory Requests

       Discovery in this matter has proven particularly challenging because the alleged conduct

occurred in Butare, Rwanda more than thirty years ago. As a result, some records are written in a

foreign language, and many remain located overseas, necessitating a foreign investigation. The



                                                  3
        Case 1:24-cr-10071-FDS         Document 95        Filed 05/23/25      Page 4 of 16




defense initially received automatic discovery on June 3, 2024 comprising 4.93 GB of data and

16,505 bates-stamped pages, some of which were not in English. After that initial production:

    •   June 7, 2024: The government produced certain interview reports from United States v.
        Prudence Kantengwa, No. 1:08-cr-10385-RGS (D. Mass.).

    •   December 10, 2024: In response to a defense request, the government produced certain
        immigration files belonging to Mr. Nshimiye’s family members.

    •   January 29, 2025: At the defense’s request, the government provided additional records
        from United States v. Jean Leonard Teganya, No. 1:17-cr-10292-FDS (D. Mass.); United
        States v. Prudence Kantengwa, No. 1:08-cr-10385-RGS (D. Mass.); and United States v.
        Beatrice Munyenyezi, No. 10-cr-00085-SM (D. N.H.).1

    •   February 13, 2025: The government informed the defense that it is making seven boxes
        of Kantengwa and Munyenyezi materials available for inspection, while transferring data
        from certain CDs relevant to those matters onto a hard drive.

    •   March 28, 2025: The government produced a copy of that hard drive—containing
        approximately 31.1 GB of data and 4,973 files—and the defense selected further
        documents from the boxes for copying.

        Separately, on October 4, 2024, the defense sought the government’s position regarding an

ex parte, sealed application for letters rogatory. On October 24, 2024, the government indicated it

would oppose the request, prompting the defense to file a Motion for Leave to Proceed Ex Parte

and Under Seal for Issuance of Letters Rogatory, Dkt. 55, later that day. The government filed its

opposition on November 15, 2024, Dkt. 58, and on December 17, 2024, Chief Magistrate Judge

Cabell granted the defense’s request, setting a January 17, 2025 deadline for the underlying Motion

for Issuance of Letters Rogatory. Dkt. 58 at 14.

        On December 30, 2024, the government moved for reconsideration of Magistrate Judge

Cabell’s prior ruling. Dkt. 63. The defense responded on January 13, 2025. Dkt. 64. Consistent



1
  Kantengwa and Munyenyezi became relevant to this case and the subject of the defense’s requests
based on the government’s representation that it “anticipates that it will offer evidence at trial in
this matter which links the defendant to the hotel and roadblock which Ms. Munyenyezi controlled
during the genocide.” Dkt. 36 at 6, n. 7.
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         Case 1:24-cr-10071-FDS         Document 95       Filed 05/23/25      Page 5 of 16




with the Court’s December 17, 2024 order, the defense then filed its Motion for Issuance of Letters

Rogatory on January 17, 2025. On April 4, 2025, the Court denied that motion as overbroad and

declared the government’s reconsideration request largely moot. Dkt. 77 and 78.

         At the Court’s suggestion, the defense submitted a narrowed request on April 15, 2025,

seeking two letters rogatory for Kenyan and Rwandan passport and travel records. Dkt. 84. The

parties are now conferring about possible government assistance in obtaining those materials; the

government’s formal response is due May 27, 2025. To preserve its appellate rights, the defense

has requested an extension to June 6, 2025, for any objections to the April 4 denial of its letters

rogatory requests. Dkt. 94.2

         Compounding potential delays is the defense’s lack of any effective compulsory process –

or a meaningful substitute – to secure testimony from the many witnesses residing abroad. Because

there is no legal mechanism to compel their appearance in the United States, even a willing witness

must first receive special permission from the State Department following significant

intergovernmental coordination. At the same time, that witness must obtain exit visas and travel

documents from, for example, Rwanda, requiring disclosure of the reason for their trip. This adds

to the difficulty of procuring witnesses because declaring an intent to testify in a genocide-related

defense case in Rwanda may risk prosecution for denying or minimizing the genocide—regardless

of the content or truth of the testimony.

         II.    Argument

         For over two centuries, our justice system, following the Eighth Amendment prohibition

of “excessive bail,” rejected concepts of preventive detention. See, e.g., United States v. Lawrence,




2
    This motion remains pending.
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       Case 1:24-cr-10071-FDS          Document 95          Filed 05/23/25    Page 6 of 16




4 Cranch C.C. 518, 26 F.Cas. 887 (1835) (bail set for defendant who attempted to murder President

Andrew Jackson because the Constitution forbade excessive bail).

               From the passage of the Judiciary Act of 1789, 1 Stat. 73, 91, to the
               present…, federal law has unequivocally provided that a person
               arrested for a non-capital offense shall be admitted to bail. This
               traditional right to freedom before conviction permits the
               unhampered preparation of a defense, and serves to prevent the
               infliction of punishment prior to conviction …. Unless this right to
               bail before trial is preserved, the presumption of innocence, secured
               only after centuries of struggle, would lose its meaning.

Stack v. Boyle, 342 U.S. 1, 4 (1951) (citations omitted).

       In 1984, Congress enacted the Bail Reform Act, codified at 18 U.S.C. §3142, setting forth

the conditions under which federal defendants can be detained pretrial. It mandated detention only

if “no condition or combination of conditions will reasonably assure the appearance of the person

… and the safety of any other person and the community.” § 3142(e)(1). During the debate which

led to the passage of the Act, the Senate was assured that 90 days of detention was the “worst case

limit,” and the “upper bound” of pretrial detention. United States v. Colombo, 777 F.2d 96, 101

(2d Cir. 1985) (internal citations and quotations omitted).

       In United States v. Salerno, 481 U.S. 739 (1987), the Supreme Court ruled, in a case which

presented a facial challenge to the Bail Reform Act “the most difficult challenge to mount

successfully, since the challenger must establish that no set of circumstances exists under which

the Act would be valid,” id. at 745 – that pretrial detention under 18 U.S.C. §3142 was a regulatory

measure rather than a punitive one and therefore permissible under the Due Process Clause. Id. at

747.

       Notably, one of the factors on which the Court relied in upholding the constitutionality of

the detention provisions of the Bail Reform Act was that “the maximum length of pretrial detention

is limited by the stringent time limitations of the Speedy Trial Act.” Salerno, 481 U.S. at 747; see

                                                 6
       Case 1:24-cr-10071-FDS            Document 95        Filed 05/23/25       Page 7 of 16




also United States v. Gonzales Claudio, 806 F.2d 334, 340–41 (2d Cir. 1986) (“Nevertheless, the

ninety-day period specified in section 3164(b), representing the considered view of the Congress

as to the normal limit on pretrial detention, provides at least a point of reference in our

consideration of the constitutional limit on such detention.”). The Court left open challenges to the

constitutionality of the statute as applied in a particular case, id. n.3, expressly “intimating no view

as to the point at which detention in a particular case might become excessively prolonged, and

therefore punitive, in relation to Congress’ regulatory goal.” id. at 747 n.4.

       In the intervening years since Salerno, the number of defendants detained pretrial has

increased exponentially. Prior to the passage of the Bail Reform Act, approximately 15% of federal

criminal defendants were detained prior to trial.3 By 2022, that number has more than quadrupled,

and more than half (68.5% to be exact) of criminal defendants have been detained prior to trial,

even though “[s]ocial science research shows that people held in jail pretrial are more likely to be

convicted, to be sentenced to longer incarceration terms, or to commit new crimes post-trial

compared to their released counterparts.”4

       Also, since Salerno, experience has shown the protection of the Speedy Trial Act against

unduly prolonged pretrial detention to be largely illusory. While 18 U.S.C. § 3164 (b) requires that

trials begin no later than ninety days, the numerous specific exclusions from that period set forth

in §3161(h) and the ready availability of “ends of justice” continuances under §3161(h)(7)(A)

often result in defendants being detained for prolonged periods, sometimes for years, prior to the



3
  See 1984 U.S.C.C.A.N. 3182, 3193 n.43,
https://www.fd.org/sites/default/files/criminal_defense_topics/essential_topics/sentencing_resour
ces/deconstructing_the_guidelines/legislative-history-of-the-comprehensive-crime-control-act-
of-1983.pdf/
4
  See Pretrial Release and Detention in the Federal Judiciary, https://www.uscourts.gov/about-
federal-courts/probation-and-pretrial-services/pretrial-services/pretrial-release-and-detention-
federal-judiciary
                                                   7
          Case 1:24-cr-10071-FDS        Document 95       Filed 05/23/25      Page 8 of 16




commencement of their trials, particularly where cases are complex or, as here, international in

nature.

          Following the passage of the Bail Reform Act, many courts of appeals, including the First

Circuit, have expressly recognized that, at some point, the duration of the pretrial detention of the

defendant may cross the line separating the regulatory from the punitive and thereby violate the

Due Process Clause. Indeed, the First Circuit stated that “that in many, perhaps most, cases, sixteen

months would be found to exceed the due process limitations on the duration of pretrial

confinement.” United States v. Zannino, 798 F.2d 544, 548 (1st Cir. 1986) (collecting cases); see

also United States v. Gonzales Claudio, 806 F.2d 334, 341 (2d Cir. 1986) (“Detention that has

lasted for fourteen months and, without speculation, is scheduled to last considerably longer, points

strongly to a denial of due process.”); United States v. Vastola, 652 F. Supp. 1446, 1448 (D.N.J.

1987) (releasing defendant after three months of pretrial detention because anticipated detention

of 1 ½ years without determination of guilt violates due process).

          This Court’s determination of whether continued pretrial detention violates due process

must be rooted in the specific facts of the case and consider both the initial detention factors and

additional due-process factors that have emerged over time. Courts generally look at the

seriousness of the charges, the strength of the government’s proof of flight risk or dangerousness,

and the strength of the government’s underlying case. Zannino, 798 F.2d 544, 547 (citing United

States v. Accetturo, 783 F.2d 382, 388 (3d Cir.1986). When evaluating a claim that the duration of

detention has become excessive, courts also consider the length of detention, the complexity of the

case, and whether the litigation strategy of either party has “needlessly” contributed to the delay.

Id.




                                                  8
       Case 1:24-cr-10071-FDS           Document 95         Filed 05/23/25      Page 9 of 16




       A. Seriousness of the Charges

       In its bail decision, this Honorable Court found that Mr. Nshimiye’s alleged conduct –

though dating back decades – remains serious. Dkt. 43 at 6. To be sure, any allegations of violence

weigh in favor of heightened scrutiny. Yet these charges do not carry any statutory presumption

of detention; they do not involve offenses that Congress specifically identified as presumptively

unbailable, and therefore they must be weighed against the attendant constitutional concerns.

       Respectfully, these constitutional considerations far outweigh any concerns about flight –

especially since flight concerns can be alleviated by stringent conditions of release. After all if the

Second Circuit believed that the due process rights of Ojeda-Rios, the leader of a violent terrorist

group calling itself Los Macheteros (the machete wielders) trumped the concerns of both flight

and danger, then surely the constitutional rights of Mr. Nshimiye deserve no less protection. See

United States v. Ojeda-Rios, 846 F.2d 167, 168 (2d Cir. 1988); Gonzalez-Claudio, 806 F.2d at 341

(fourteen months of detention held to be excessive). To be sure, Los Macheteros claimed

responsibility for acts of terrorism including the killing of two United States servicemen on a bus

and the destruction of several Puerto Rico National Guard planes. Los Macheteros had allegedly

orchestrated a robbery of $7.6 million from a Wells Fargo depot. Ojeda-Rios was allegedly

responsible for an anti-tank rocket attack on the federal courthouse in Puerto Rico and used aliases

and false addresses extensively. See United States v. Melendez-Carrion, 820 F.2d 56, 57-58 (2d

Cir. 1987). The statutory presumption of flight and danger applied to Ojeda-Rios. Yet, the Second

Circuit found that all these factors were outweighed by constitutional considerations and ordered

Ojeda-Rios released. Ojeda-Rios, 846 F.2d at 169.

       Indeed, many defendants charged with similar crimes to Mr. Nshimiye have been admitted

to bail under conditions that are equally available to this Honorable Court. See e.g., United States



                                                  9
      Case 1:24-cr-10071-FDS           Document 95        Filed 05/23/25      Page 10 of 16




v. Gasana, Dkt. 20-cr-00016-LM, Dkt. 1 and 18 (D.N.H) (defendant alleged of “commit[ing]

numerous acts of violence, including murder, persecution, and theft” during the Rwandan genocide

released on home detention and GPS monitoring condition);5 United States v. Ngombwa, Dkt. 14-

cr-00123, Dkt. 2 at 10-11 and Dkt. 12 (N.D. Iowa) (defendant who was previously convicted of

“committing genocide and inciting others to commit genocide” in “the gacaca courts in Rwanda”

released on bond); United States v. Kantengwa, Dkt. 08-cr-10385-RGS, Dkt. 3 and 6 (D. Mass)

(defendant who was an alleged MRND member, a genocide supporter, and the wife of genocider

then on trial before the ICTR was released on a $50,000 unsecured bond with travel restricted to

the United States); United States v. Kobagaya, Dkt. 09-cr-10005-MLB, Dkt. 1 and 22 (defendant

alleged to have killed and committed arson during Rwandan genocide was released on a $50,000

bond co-signed by family with travel restrictions). Most recently, in United States v.

Nsabumunkunzi, No. 25-cr-00138-JS (E.D.N.Y.), Judge Seybert granted release on a $250,000

unsecured bond with home detention of a former Rwandan leader who was alleged to have directed

and participated in killings and sexual violence against Tutsis, set up roadblocks to capture

civilians, and had previously been convicted and sentenced to life in prison by a Rwandan court in

absentia. See id., Dkt. 5 at 2–3; Dkt. 12.6



5
  Highlighting the difficulty of litigating a largely international case, Gasana was recently
dismissed by the government because of its inability to obtain testimony from a witness located in
Rwanda.
6
  The two defendants that were detained pending trial are material distinguishable from Mr.
Nshimiye. Teganya, for example, had no legal status in the United States, crossed the border
surreptitiously after being denied asylum in Canada, and had a history of fleeing jurisdictions.
Teganya, 17-cr-10292-FDS, Dkt. 64, 65, and 76. In United States v. Munyenyezi, 10-cr-00085-SM
(D.N.H), the defendant had “ties to a network of Rwanda’s either accused of being involved in the
genocide or dedicated to the overthrow of the current regime in Rwanda [] who would be both
capable of and motivated to facilitate her flight,” a history of deceiving courts, including the ICTR
during her husband’s trial, and was actively assisting her husband in manipulating witness
testimony. Id. at Dkt. 22 and 28 at 12.
                                                 10
      Case 1:24-cr-10071-FDS          Document 95        Filed 05/23/25      Page 11 of 16




       B. Strength of the Government’s Proof of Flight Risk or Dangerousness

       While the government initially met its burden to show a risk of flight sufficient to justify

detention, that risk must be reexamined considering changing circumstances over the past fourteen

months of detention. The Court should consider whether proposed conditions of release – such as

home confinement, electronic monitoring, limited travel, and robust third-party sureties – can

adequately mitigate any remaining flight concerns or danger. In light of the family, community,

and employment ties that have remained intact during Mr. Nshimiye’s detention, continued

incarceration may no longer be the “least restrictive” means of ensuring future appearances.

       The defense maintains that Mr. Nshimiye does not pose an unmanageable flight risk. For

approximately five years before his arrest – during which he was active in the American‑Rwandan

community and testified in the Teganya trial – he remained in the United States, fully aware of the

government’s allegations, the charges he might face, and the gravity of a possible conviction. His

decision not to flee underscores that there are conditions capable of ensuring his appearance at

trial. Moreover, his family’s current financial and medical hardships illustrate an urgent need for

his presence at home, see Exhibit 1, and the many letters from relatives, friends, and community

members previously submitted to this Court further show that Mr. Nshimiye is not someone who

would abandon his obligations to his family or the Court. Dkt. 18-1.

       To the extent that this Honorable Court was concerned that the travel required between

Ohio and Massachusetts for court appearances “creates a substantial risk that [Mr. Nshimiye]

might take the opportunity to evade authorities while in transit,” Dkt. 43 at 8, it can require that




                                                11
      Case 1:24-cr-10071-FDS           Document 95        Filed 05/23/25      Page 12 of 16




Mr. Nshimiye travel between Ohio and Massachusetts only with one of his attorneys. See United

States v. Patriarca, 776 F. Supp. 593, 595 (D. Mass. 1991) (setting such condition).7

       C. Strength of the Government’s Case on the Merits

       The government’s evidence involves events from more than thirty years ago in a foreign

jurisdiction. That proof depends on documents and witness statements located abroad – material

whose reliability and availability are an open question. Despite all the ongoing investigations in

Rwanda and the ICTR, Mr. Nshimiye’s name never surfaced as even a suspect for more than 25

years. No document evidence exists to tie him to the alleged crimes. The only way for the

government to prove its case is to rely on Rwandan witnesses, who operate under the limits of the

laws to which they are beholden, the Rwandan law. Although the Rwandan Constitution purports

to provide a freedom of speech, that speech is limited at the whim of the Rwandan government

such that a Rwandan does not know if what he or she says will get them in trouble. What a

Rwandan does know is that if he or she says something contrary to the “truth”, i.e., that all Hutus

were involved in the genocide, that individual can be and most likely will be accused, if not charged

with division and genocide ideology. Accusations alone can destroy their lives let alone subject

them to a formal charge. Accordingly, the testimony of these witnesses against Mr. Nshimiye has

not yet been tested by adversarial proceedings and any such accusations may still fail to satisfy the

government’s burden in this case. Regardless, “the weight of the evidence is the least important of

the various factors.” United States v. Motamedi, 767 F.2d 1403, 1408 (9th Cir. 1985) (“if the court

impermissibly makes a preliminary determination of guilt, the refusal to grant release could

become in substance a matter of punishment.”).




7
  Even requiring Mr. Nshimiye to establish residency in Massachusetts would be less restrictive
than detention.
                                                 12
      Case 1:24-cr-10071-FDS           Document 95         Filed 05/23/25   Page 13 of 16




       D. Length of Detention

       A key factor in the due-process inquiry is “the length of the detention that has in fact

occurred.” Zannino, 798 F.2d at 547. Here, Mr. Nshimiye has already been imprisoned for more

than fourteen months. Where the pretrial period extends beyond that point—and, as here, may well

surpass two years given the complexities of obtaining evidence from abroad and arranging foreign

witness testimony – courts must evaluate whether detention remains “regulatory” or has become

punitive. Indeed, the First Circuit has indicated that such protracted confinement “would be found

to exceed the due process limitations on the duration of pretrial confinement.” Zannino, 798 F.2d

at 548; United States v. Gonzales Claudio, 806 F.2d 334, 341 (2d Cir. 1986) (“fourteen months …

points strongly to a denial of due process.”); United States v. Vastola, 652 F. Supp. 1446,

1448 (D.N.J. 1987) (anticipated 18-month detention violates due process). Likewise, under a Sixth

Amendment speedy-trial analysis, any delay exceeding a year is generally “presumptively

prejudicial.” United States v. Handa, 892 F.3d 95 (1st Cir. 2018). “[A]t some point and under

some circumstances, the duration of confinement itself crosses the line between regulatory and

impermissible punitive detention.” United States v. Accetturo, 783 F.2d 382, 388 (3d Cir. 1986).

That line has been or soon will be crossed in this case.

       E. Complexity of Case and Impact of the Parties’ Litigation Strategies

       As previously discussed, this prosecution hinges on allegations of historically remote

conduct in a foreign jurisdiction, requiring substantial international discovery, translation, and

coordination. Obtaining foreign evidence often take many months—or longer—to produce

tangible results. Delays in obtaining, reviewing, and integrating that evidence underscores the

case’s complexity. But complexity alone should not be a surrogate for perpetually prolonged

detention: courts must ensure it does not become a mechanism for indefinite incarceration. Indeed,



                                                 13
       Case 1:24-cr-10071-FDS           Document 95        Filed 05/23/25       Page 14 of 16




while it may well as a general matter take complex and international cases longer to reach the trial

stage than simpler ones, it is in precisely such cases that the threat to a detained defendant’s right

to the effective assistance of counsel and his right to assist counsel in the preparation of his defense

is at its zenith.

        Finally, the Court should assess whether either party’s conduct has “needlessly” prolonged

the proceedings. Zannino, 798 F.2d at 547. Where, as the defense contends, the delays arise from

legitimate investigative requirements – such as issuing letters rogatory or locating and arranging

testimony from relevant witnesses – the defense should not bear responsibility for that extension

of time.

        Collectively, these considerations demonstrate that continuing to detain Mr. Nshimiye –

beyond fourteen months already served and potentially for another year or longer – exceeds

constitutional limits. Although the seriousness of the charges and the government’s initial evidence

of flight risk may have warranted detention at the outset, the substantial time already elapsed, the

changing record on risk mitigation, and the protracted nature of foreign discovery now strongly

weigh in favor of release.

        Accordingly, the defense respectfully proposes that the stringent conditions initially set

forth in Dkt. 31 at 17-18 – together with the added requirement that Mr. Nshimiye may only travel

between Ohio and Massachusetts when accompanied by counsel, and any additional safeguards

this Court deems appropriate – will more than reasonably ensure his future appearance for trial

especially given Mr. Nshimiye’s deep ties to his community and the urgent family needs that

compel him to remain here.




                                                  14
       Case 1:24-cr-10071-FDS         Document 95        Filed 05/23/25     Page 15 of 16




        III.    Conclusion

        For all the foregoing reasons, Defendant Eric Nshimiye respectfully requests this

Honorable Court to grant him pretrial release. The length of his detention already exceeds fourteen

months and is poised to continue for at least another year or longer due to the complexities of

foreign discovery. His family faces grave hardships in his absence, and he has demonstrated that

conditions far less restrictive than continued incarceration can adequately ensure his appearance.

In these circumstances, continued pretrial detention would violate due process protections,

requiring his release on suitable conditions that will safeguard both his constitutional rights and

the interests of justice.

                            COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        The government, by and through AUSA Amanda Beck, opposes the requested relief.



                                             Respectfully submitted,

                                             /s/ Kurt P. Kerns
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                                                15
      Case 1:24-cr-10071-FDS        Document 95       Filed 05/23/25     Page 16 of 16




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and authentic copy of the above and foregoing was filed and
served electronically pursuant to the CM/ECF system on May 23, 2025, on all counsel of record.

                                           /s/ Maksim Nemtsev
                                           Maksim Nemtsev, Mass. Bar No. 690826




                                              16
